82 F.3d 411
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Ralph FERRY, Defendant-Appellant.
    No. 95-7941.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 21, 1996.Decided April 10, 1996.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Charleston.   John T. Copenhaver, Jr., District Judge.  (CR-93-226, CA-94-1109-2)
      Ralph Ferry, Appellant Pro Se.  Michael Lee Keller, OFFICE OF THE UNITED STATES ATTORNEY, Charleston, West Virginia, for Appellee.
      S.D.W.Va.
      AFFIRMED.
      Before NIEMEYER and MICHAEL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying his 28 U.S.C. § 2255 (1988) motion.   Appellant's case was referred to a magistrate judge pursuant to 28 U.S.C. § 636(b)(1)(B) (1988).   The magistrate judge recommended that relief be denied and advised Appellant that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.   Despite this warning, Appellant failed to object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation when the parties have been warned that failure to object will waive appellate review.  See Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir.1985);  United States v. Schronce, 727 F.2d 91, 93-94 (4th Cir.), cert. denied, 467 U.S. 1208 (1984);  see also Thomas v. Arn, 474 U.S. 140 (1985).   Appellant has waived appellate review by failing to file objections after receiving proper notice.   We accordingly affirm the judgment of the district court.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    